               Case 3:22-cr-00426-JSC Document 107 Filed 10/18/23 Page 1 of 8




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12
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13

14   UNITED STATES OF AMERICA,                    )   CASE NO. 3:22-CR-426-JSC
                                                  )
15           Plaintiff,                           )   UNITED STATES’ REPLY IN SUPPORT OF
                                                  )   UNITED STATES’ MOTIONS IN LIMINE
16      v.                                        )
                                                  )   Trial Date:     November 6, 2023
17   DAVID WAYNE DEPAPE,                          )   Hearing Date:   October 26, 2023
                                                  )   Hearing Time:   1:00 p.m.
18           Defendant.                           )
                                                  )   Judge: Hon. Jacqueline Scott Corley
19                                                )

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     USA’s REPLY RE: MOTIONS IN LIMINE
     3:22-CR-426-JSC
              Case 3:22-cr-00426-JSC Document 107 Filed 10/18/23 Page 2 of 8




 1 I.       MOTIONS IN LIMINE NOT IN DISPUTE

 2          Based on Defendant’s Opposition to government’s motions in limine, the Court can grant as

 3 unopposed government motion in limine 2 concerning insanity or diminished capacity, as Defendant

 4 does not intend to raise either defense.

 5          Concerning motion in limine 3, this also is not a disputed issue, as the government will not seek

 6 prior information about impeachment of civilian witnesses.

 7          The Court can also grant as unopposed government motion in limine 5 concerning the DUI, as

 8 Defendant does not intend to cross examine on that topic.

 9

10 II.      REPLY IN SUPPORT OF MOTION IN LIMINE 1: TO PRECLUDE DEFENDANT
            FROM INTRODUCING IRRELEVANT EVIDENCE REGARDING OTHER
11          INDIVIDUALS THAT HE MAY HAVE INTENDED TO TARGET

12          Defendant contends that Target 1 has relevant testimony to offer, but claims that the Sixth

13 Amendment somehow shields him from providing even a basic statement about how his/her testimony is

14 relevant. While it is true that in the context of Rule 17, a defendant’s claims of relevance and

15 admissibility are handled ex parte in order to procure a subpoena from the Court, as a practical matter,

16 the pre-trial litigation process necessarily reveals certain aspects of defense strategy in order for the

17 Court to determine issues prior to trial. In the context of defendant’s contention that Target 1’s

18 testimony is relevant, the invocation of the Sixth Amendment to prevent giving even a basic proffer of
19 relevance goes too far. The Court should consider requiring Defendant to make a basic relevance

20 statement that the government can address, while allowing Defendant’s more detailed strategy to remain

21 confidential.

22          Any argument that Defendant makes in support of the proposition that Target 1 is relevant to the

23 jury will stretch relevance beyond the meaning of the rules. The two counts do not involve Target 1 at

24 all. The fact that the Indictment in background allegations reads that in his Mirandized interview,

25 Defendant “identified another person, referred to here as ‘Target 1’ as ‘way up’ on his target list, and he

26 explained that he had a plan to use Speaker Pelosi to lure Target 1 to Depape,” Dkt. 3 ¶ 16(e), does not

27 go to the proof of either count. Indeed, if the government tried to introduce this evidence, Defendant

28 might well claim that it is subject to Rule 404(b).

     USA’s Reply in Support of USA’s Motions in Limine
     3:22-CR-426-JSC                             1
              Case 3:22-cr-00426-JSC Document 107 Filed 10/18/23 Page 3 of 8




 1          Here are some defenses that the government brainstorms Defendant could claim, as well as the

 2 reasons the Court should decline to permit testimony from Target 1:

 3          First, Defendant could claim that he was not targeting Congresswoman Pelosi due to her official

 4 duties, and that Target 1 helps make that argument because Target 1 is not a federal official. Target 1’s

 5 testimony, though is irrelevant on that point, and it’s just as irrelevant that Defendant had other

 6 “targets”, as this case is about victims Congresswoman Pelosi and Mr. Pelosi.

 7          Second, Defendant could claim that if he did not in fact threaten or assault Target 1, that then goes

 8 to show that he did not intend to harm Mr. Pelosi or kidnap Congresswoman Pelosi. What Defendant did

 9 with respect to other people has no bearing on his assault of Mr. Pelosi and his attempt to kidnap

10 Congresswoman Pelosi, which are demonstrated by the evidence in this case, including what Defendant

11 did and what he said about it.

12          These attempts to rebut Defendant’s claim of relevance demonstrate that it is hard to do in a

13 vacuum, and if the Court is inclined to permit the testimony of Target 1, it should first give the government

14 a more meaningful opportunity to rebut Defendant’s claims by requiring a basic assertion of relevance.

15

16 III.     REPLY IN SUPPORT OF MOTION IN LIMINE 4: TO PRECLUDE DEFENDANT
            FROM INTRODUCING HIS OWN HEARSAY STATEMENTS
17
            A.      The Court Should Not Permit Defendant to Introduce His Own Hearsay Statements
18                  to SFPD Under Rule 106

19          At this time, the United States has marked five excerpts of the statement that Defendant made to

20 SFPD Lieutenant Hurley on October 28, 2022 to admit at trial. Defendant confessed both the attempted

21 kidnapping of Congresswoman Pelosi and the assault of Mr. Pelosi repeatedly throughout the interview.

22 During the interview he explained why he committed the crimes. These excerpts capture the confession

23 and are accurately reflected in the highlighted portions of the transcript of this interview submitted by

24 Defendant as Exhibit I to Defendant’s Opposition to the United States’ motion in limine. Dkt. 98.

25 These excerpts are not misleading or taken out of context, and therefore additional portions of

26 Defendant’s interview should not be admitted pursuant to Federal Rule of Evidence 106.

27          Rule 106 states:

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     USA’s Reply in Support of USA’s Motions in Limine
     3:22-CR-426-JSC                             2
               Case 3:22-cr-00426-JSC Document 107 Filed 10/18/23 Page 4 of 8




 1          If a party introduces all or part of a writing or recorded statement, an adverse party may require
            the introduction, at that time, of any other part--or any other writing or recorded statement--that
 2          in fairness ought to be considered at the same time.

 3 The Ninth Circuit provides that Rule 106 codified the common law Rule of Completeness, “which exists

 4 to avert misunderstanding or distortion caused by introduction of only part of a document.” United

 5 States v. Vallejos, 742 F.3d 902, 905 (9th Cir. 2014). In Vallejos, the Ninth Circuit made clear that it is

 6 “perfectly proper to admit segments” of statements and “adverse parties are not entitled to offer

 7 additional segments just because they are there and the proponent has not offered them.” Id. “[I]f the

 8 complete statement [does] not serve to correct a misleading impression in the edited statement that is

 9 created by taking something out of context, the Rule of Completeness will not be applied to admit the

10 full statement.” Id. (internal citation and quotations omitted). Indeed, the Ninth Circuit has repeatedly

11 upheld district court rulings rejecting defendants’ attempts to augment segments of their confessions that

12 were not misleading. Id. at 905 (holding district court did not abuse its discretion when finding redacted

13 statement was not misleading and therefore full statement was not required to be admitted into

14 evidence); United States v. Liera-Morales, 759 F.3d 1105, 1111 (9th Cir. 2014) (“The district court

15 carefully and thoroughly considered the government’s proffered statements from the post-arrest

16 interview and correctly determined that those statements were neither misleading nor taken out of

17 context.”); United States v. Collicott, 92 F.3d 973, 983 (9th Cir. 1996) (finding additional statements

18 inadmissible under Rule 106 because the admitted statements were not misleading or taken out of
19 context).

20          The text of the Rule as it will be implemented later this year has changed to the following, with

21 changed portions in italics:

22                  If a party introduces all or part of a statement, an adverse party may
                    require the introduction, at that time, of any other part--or any other
23                  statement--that in fairness ought to be considered at the same time. The
                    adverse party may do so over a hearsay objection.
24

25 Fed. R. Evid. 106 (effective December 1, 2023). The Advisory Committee Notes identify two aspects of

26 the amendment: first, that a completing statement that in fairness should be considered at the same time

27 is admissible over a hearsay objection. Second, and not applicable here, the Amendments make clear

28 that the Rule covers unrecorded oral statements. The statements here are recorded.

     USA’s Reply in Support of USA’s Motions in Limine
     3:22-CR-426-JSC                             3
              Case 3:22-cr-00426-JSC Document 107 Filed 10/18/23 Page 5 of 8




 1          As it concerns when a statement is admissible over a hearsay objection, the Advisory Committee

 2 Notes for the 2023 Amendment state:

 3                  The amendment does not give a green light of admissibility to all excised
                    portions of statements. It does not change the basic rule, which applies
 4                  only to the narrow circumstances in which a party has created a
                    misimpression about the statement, and the adverse party proffers a
 5                  statement that in fact corrects the misimpression. The mere fact that a
                    statement is probative and contradicts a statement offered by the opponent
 6                  is not enough to justify completion under Rule 106.

 7 Advisory Committee Notes to Rule 106, effective Dec 1. 2023.

 8          Defendant wants to be permitted to put in the entire interview given to SFPD, which the

 9 December 2023 Amended Rule 106 would not permit, even if it were in effect. Certainly putting in the

10 Defendant’s entire interview is not what the Committee had in mind. That is particularly true here where

11 the government’s excerpts do not create a misimpression.

12          To the extent that Defendant wants to put in additional segments during his case, he should

13 identify those so that the parties can litigate each section one-by-one and the Court can decide now

14 without wasting juror time. Defendant provides examples of sections that he argues are non-hearsay

15 because they are not offered for the truth, or fall within a hearsay exception, but Defendant never

16 identifies line by line, as he should, a basis for admissibility. First, Defendant claims that two statements

17 fall “squarely” within the hearsay exception for then-existing mental, emotional, or physical condition.

18 Neither of those statements falls squarely within the then-existing exception because neither is what
19 Defendant was thinking at that time. Instead, Defendant gave these statements hours after he committed

20 his crimes. Second, Defendant appears to contend that all of his statement or at least some portions are

21 excited utterances. Neither the entire statement nor any statement within it is an excited utterance

22 because he gave the statement five hours after the assault. If there are statements that Defendant wants to

23 admit from his statements to SFPD after SFPD tackled and removed him from the Pelosi Residence, he

24 should identify those and raise the basis for admissibility.

25          This trial will be short and fast moving. There is no reason to litigate the admissibility of

26 Defendant’s statements on the spot before the jury. Doing so will be a waste of the jury’s time.

27 Defendant cannot admit the entire statement, and if there are certain aspects he wants to introduce, the

28 parties should litigate those sections now.

     USA’s Reply in Support of USA’s Motions in Limine
     3:22-CR-426-JSC                             4
              Case 3:22-cr-00426-JSC Document 107 Filed 10/18/23 Page 6 of 8




 1          B.      The Court Should Admit the KTVU Call as Highly Probative of Motive and Intent

 2          The Court should permit the government to admit an excerpt of Defendant’s call on January 27,

 3 2023, to KTVU, as marked in Exhibit J to Defendant’s Opposition to the United States’ Motions in

 4 Limine. Dkt. 98. Contrary to Defendant’s assertion, these statements are relevant not simply to the fact

 5 that Defendant was at the Pelosi’s home, but to his motive for assaulting Mr. Pelosi and attempting to

 6 kidnap Congresswoman Pelosi and the steps he took prior to breaking into the Pelosi’s home. As such,

 7 they are probative evidence of intent.

 8          The government must prove for both Counts One and Two that Defendant targeted

 9 Congresswoman Pelosi and Mr. Pelosi based on Congresswoman Pelosi’s performance of her official

10 duties. Specifically, Count One requires the government to prove that Defendant intended to kidnap

11 Congresswoman Pelosi “on account of or during the performance of her official duties.” See NINTH

12 CIRCUIT MODEL JURY INSTRUCTION (2022) NO. 17.6; see also 18 U.S.C. § 1201(a)(5), (d). Count Two

13 requires the government to prove that Defendant assaulted Mr. Pelosi “with intent to impede, intimidate,

14 or interfere with” Congresswoman Pelosi “while engaged in the performance of her official duties, or

15 with the intent to retaliate against” Congresswoman Pelosi “on account of the performance of official

16 duties.” 18 U.S.C. § 115(a)(1). Defendant’s statements in this call about tracking down, paying visits

17 to, and chatting about the bad behavior of people he accused of killing “the tree of liberty,” along with

18 his statements about tyranny and patriots, are probative of these two elements, both standing on their
19 own and in combination with the other statements he made after committing the assault and attempting

20 to kidnap then-Speaker Pelosi.

21          The government additionally needs to prove for Count One that Defendant both intended to

22 kidnap Congresswoman Pelosi and that he did something that was a substantial step towards kidnapping

23 Congresswoman Pelosi, that is, conduct that strongly corroborates Defendant’s intent to commit the

24 crime. NINTH CIRCUIT MODEL JURY INSTRUCTION (2022) NO. 17.6. The government must show that

25 Defendant’s act or actions unequivocally demonstrate that the crime would have taken place but for it

26 being interrupted by independent circumstances. Id. Defendant’s statements in this call about the steps

27 he took prior to breaking into the Pelosi’s home, that he “got their names and addresses so that [he]

28 could pay them a visit,” and his regret that he “didn’t get more of them” and that he “should have come

     USA’s Reply in Support of USA’s Motions in Limine
     3:22-CR-426-JSC                             5
              Case 3:22-cr-00426-JSC Document 107 Filed 10/18/23 Page 7 of 8




 1 better prepared” go to the core of Defendant’s intent to kidnap Congresswoman Pelosi and that he would

 2 have done so but for being interrupted by independent circumstances. Whether Defendant had the

 3 requisite intent to commit Count One and whether he took a substantial step towards committing the

 4 crime is likely to be an issue at trial, and Defendant’s statements in this call directly address these

 5 elements.

 6          Additionally, Defendant’s call to KTVU is different from his SFPD interview because of the

 7 circumstances of the call, which he initiated voluntarily and from custody. The jury is likely to receive

 8 the following instruction regarding Statements by Defendant:

 9          You have heard testimony that the defendant made statements. It is for you to decide (1)
            whether the defendant made the statements, and (2) if so, how much weight to give them. In
10          making those decisions, you should consider all the evidence about the statements, including the
            circumstances under which the defendant may have made them.
11

12 NINTH CIRCUIT MODEL JURY INSTRUCTION (2022) NO. 3.1. While Defendant’s statements to SFPD

13 Lieutenant Hurley were while he was in custody and were in response to questions by Lieutenant

14 Hurley, Defendant initiated the call to KTVU himself and volunteered that he would “like to give a

15 statement” before describing his motives and actions related to the charged conduct. The voluntariness

16 of Defendant’s statement to Lieutenant Hurley could be at issue, which makes the voluntary nature of

17 Defendant’s statement in the KTVU call even more probative. In addition, Defendant presumably

18 considered what he wanted to say before he placed the KTVU call.
19          In short, should Defendant contend that he did not intend to commit either crime or that he did

20 not take a substantial step towards kidnapping Congresswoman Pelosi, his voluntary statement to KTVU

21 will be relevant and highly probative to the jury, and when put together with other evidence in the case,

22 will further the proof beyond a reasonable doubt that Defendant is guilty of both counts. The statement

23 is not unfairly prejudicial, and in fact Defendant could foresee when he made the call, after being

24 charged in this case and the State case, from jail to a local news report and told her that he wanted to

25 give a statement and that it could be recorded that it would be used against him. The Court should admit

26 the KTVU call.

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     USA’s Reply in Support of USA’s Motions in Limine
     3:22-CR-426-JSC                             6
              Case 3:22-cr-00426-JSC Document 107 Filed 10/18/23 Page 8 of 8




 1 IV.      CONCLUSION

 2          The government respectfully requests that the Court grant the government’s motion in limine 1

 3 and preclude Defendant from introducing irrelevant evidence of other individuals, including Target 1.

 4 The government respectfully requests that the Court grant government motion in limine 4, and preclude

 5 Defendant from admitting his interview with Lieutenant Hurley, and any other statements, in their

 6 entirety and require Defendant to identify any specific statements that he would like the Court to

 7 consider providing under Rule 106. Further, the government requests that the Court admit Defendant’s

 8 call to KTVU. With respect to government motions in limine 2, 3, and 5, it appears there is no dispute

 9 between the parties.

10

11
     DATED: October 18, 2023                                    Respectfully submitted,
12
                                                                ISMAIL J. RAMSEY
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14
                                                                   /s/
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     USA’s Reply in Support of USA’s Motions in Limine
     3:22-CR-426-JSC                             7
